                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                   No. 5:18-cv-00303


 ATLANTIC COAST PIPELINE, LLC,

                                 Plaintiff,

         v.

 0.036 ACRE, MORE OR LESS, IN
 JOHNSTON COUNTY, NORTH
 CAROLINA, LOCATED ON PARCEL
                                                            COMPLAINT IN CONDEMNATION
 IDENTIFICATION NO. 01-F-13-062-C,
 DESCRIBED IN BOOK 1449, PAGE 503,
                                                            15 U.S.C. § 717f(h); Fed. R. Civ. P. 71.1
 INSTRUMENT 10737,

         and

 HAZEL LEE TART
 6178 Godwin Lake Road
 Dunn, NC 28334,

                                 Defendants.



                                         Nature of the Case

        1.       Plaintiff Atlantic Coast Pipeline, LLC (“Atlantic”), pursuant to its power of eminent

domain as authorized by Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h), and Federal

Rule of Civil Procedure 71.1, files this action for (i) the taking of certain interests in real property;

(ii) if later requested, immediate possession of the easements described herein; and (iii) the

ascertainment and award of just compensation to the owners of interest in real property, Hazel Lee

Tart, and any other interested parties (collectively, the “Owner”).




              Case 5:18-cv-00303-BO Document 1 Filed 06/27/18 Page 1 of 7
                                      Jurisdiction and Venue

       2.       This Court has original jurisdiction in this matter pursuant to 28 U.S.C. § 1331 and

Section 7(h) of the Natural Gas Act, 15 U.S.C. § 717f(h), because: (a) Atlantic is the holder of a

certificate of public convenience and necessity issued by the Federal Energy Regulatory

Commission (“FERC”) for the construction of an interstate natural gas pipeline that crosses West

Virginia, Virginia, and North Carolina; (b) Atlantic, despite negotiation efforts, has been unable

to acquire by contract, or has been unable to agree with the Owner as to the compensation to be

paid for, the necessary easements to construct, operate, and maintain a pipeline for the

transportation of natural gas; and (c) the amount claimed by the Owner exceeds $3,000.

       3.       Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because the interests in the real

property that Atlantic seeks to condemn are located within the Eastern District of North Carolina.

                                               Parties

       4.       Atlantic is a Delaware limited liability company with its principal office located at

120 Tredegar Street, Richmond, Virginia 23219. Atlantic is an interstate natural gas company as

defined by the Natural Gas Act, 15 U.S.C. § 717a(6), and, as such, is authorized to construct, own,

operate, and maintain pipelines for the transportation of natural gas in interstate commerce.

Atlantic’s transportation of natural gas in interstate commerce is subject to the jurisdiction and

approval of FERC.

       5.       The Owner has an ownership interest in that certain tract of land identified as Parcel

Identification No. 01-F-13-062-C, composed of 1.001 acres, more or less, located in Johnston

County, North Carolina and being more particularly described in Book 1449, Page 503, Instrument

No. 10737 of the public records of said County (the “Property”). The Property is depicted on

Exhibit 1.




                                        2
             Case 5:18-cv-00303-BO Document 1 Filed 06/27/18 Page 2 of 7
       6.       There may be other persons who claim an interest in the property to be condemned

whose names are currently unknown to Atlantic because they could not be ascertained by a diligent

inquiry. These persons will be made parties to this action as permitted by Federal Rule of Civil

Procedure 71.1(c)(3).

                                               Facts

       7.       Atlantic is in the process of constructing an approximately 600-mile underground

pipeline and related facilities for the purpose of transporting natural gas from West Virginia to

Virginia and North Carolina (the “ACP Project”).

       8.       The ACP Project will measure approximately 42 inches in diameter in West

Virginia and Virginia, and 36 inches in diameter in North Carolina. Certain extensions of the ACP

Project will measure 20 inches in diameter from Northampton County, North Carolina to the City

of Chesapeake, Virginia and 16 inches in diameter in Brunswick County, Virginia and Greensville

County, Virginia.

       9.       Natural gas transported by the ACP Project will serve multiple public utilities and

is necessary to satisfy the growing energy needs of consumers in Virginia and North Carolina.

       10.      Atlantic filed an application for a certificate of public convenience and necessity

with FERC on September 18, 2015, FERC Docket No. CP15-554-000, in which it sought

permission to construct the ACP Project and attendant facilities. On October 13, 2017, FERC

issued a certificate of public convenience and necessity (the “FERC Certificate”) authorizing

Atlantic to construct and operate the ACP Project. A copy of the FERC Certificate is attached as

Exhibit 2.

       11.      FERC found that the ACP Project will “primarily serve natural gas demand in

Virginia and North Carolina.” See Ex. 2, at 35, ¶ 79.




                                        3
             Case 5:18-cv-00303-BO Document 1 Filed 06/27/18 Page 3 of 7
        12.      FERC also found that the “public at large will benefit from increased reliability of

natural gas supplies.” See Ex. 2, at 35, ¶ 79.

        13.      As a result, the ACP Project “serves a ‘public use’” as determined by FERC. See

Ex. 2, at 34, ¶ 79.

        14.      Atlantic must begin construction of the ACP Project as soon as possible to ensure

completion within FERC’s deadline. See Ex. 2.

        15.      The FERC-approved route of the ACP Project crosses land adjoining the Property.

A map depicting the route of the ACP Project is attached as Exhibit 3.

        16.      Atlantic seeks to construct a portion of the ACP Project on land adjoining the

Property. The ACP Project cannot be constructed until Atlantic acquires certain temporary

easements (the “Temporary Easements” or “Easements”) on the Property. The Easements are

necessary for constructing, maintaining, operating, altering, testing, replacing, and repairing the

ACP Project.

        17.      A plat depicting the size and nature of the Easements is attached hereto as Exhibit

4.

        18.      The Temporary Easements will enable Atlantic to construct the ACP Project and

engage in restoration or clean-up activities. The Temporary Easements are requested as of the date

of authorized entry onto the Property and their use is required until all work, including restoration,

is complete. The Temporary Easements will be effective and condemned for a period not to exceed

five (5) years following Atlantic’s possession of the Easements.

        19.      Atlantic also seeks to acquire the right of ingress and egress to and from and through

the Easements; the right to transport pipe, vehicles, machinery, persons, equipment, or other




                                         4
              Case 5:18-cv-00303-BO Document 1 Filed 06/27/18 Page 4 of 7
materials to and from and through the Easements, and the right of access through any existing

roads on the Property.

       20.      Atlantic also seeks the right to fell trees and clear brush or other vegetation as

necessary or convenient for the safe and efficient construction, operation, or maintenance of the

ACP Project or to maintain safe and efficient access to and from the ACP Project.

       21.      The Owner shall retain the right to use the Property in any manner that will not

interfere with the use and enjoyment of Atlantic’s rights under the Easements.

       22.      Atlantic has negotiated with the Owner and has made several efforts to acquire the

Easements by contract.

       23.      Atlantic began negotiations with the Owner in May 2016. Specifically, on May 31,

2016, an agent of Atlantic (the “First Agent”) met with the Owner to discuss acquiring the

easements.

       24.      Throughout the remainder of 2016 and 2017, the First Agent and another agent of

Atlantic (the “Second Agent”), communicated with the Owner and her son-in-law, Sheldon Davis,

about negotiating to acquire the easements.

       25.      On February 9, 2018, the Second Agent spoke with Sheldon Davis and his wife (the

daughter of the Owner) to negotiate the acquisition of the easements.

       26.      In April and May 2018, the Second Agent continued to negotiate with Sheldon

Davis about the acquisition of the easements.

       27.      On June 6, 2018, Atlantic sent a final offer letter to the Owner, along with a copy

of the plat attached hereto as Exhibit 4.

       28.      On June 19, 2018, the Second Agent exchanged emails with the Owner’s attorney

in an attempt to continue negotiating acquisition of the easements without success.




                                        5
             Case 5:18-cv-00303-BO Document 1 Filed 06/27/18 Page 5 of 7
       29.      On June 21, 2018, the Second Agent met with the Owner’s attorney in person and

exchanged multiple follow-up emails and phone calls in an attempt to continue negotiating

acquisition of the easements without success.

       30.      To date, despite these negotiations, Atlantic and the Owner have been unable to

agree on the compensation to be paid. Thus, Atlantic has been unable to acquire the Easements

by contract.

       31.      Pursuant to the authority granted to Atlantic by Congress in Section 7(h) of the

Natural Gas Act, 15 U.S.C. § 717f(h), Atlantic now seeks to take by eminent domain the Easements

over the Property as depicted herein and in Exhibit 4.

       WHEREFORE, Atlantic respectfully requests that this Court:

       A.       Enter an Order of Judgment of Taking by Eminent Domain as to the Easements as

described herein;

       B.       If later requested, grant Atlantic immediate possession of the Easements in the form

of a preliminary injunction prior to the determination of just compensation upon deposit with the

Court of a sum of money representing the value of such Easements as determined by Atlantic’s

appraisal or land rights valuation analysis;

       C.       Ascertain and award just compensation to the Owner for the taking of the

Temporary Easements; and

       D.       Grant such other relief as may be just and proper.




                                        6
             Case 5:18-cv-00303-BO Document 1 Filed 06/27/18 Page 6 of 7
This the 27th day of June, 2018.


                                   /s/ Henry L. Kitchin, Jr.
                                   Henry L. Kitchin, Jr.
                                   N.C. State Bar No. 23226
                                   MCGUIREWOODS LLP
                                   Post Office Box 599 (28402)
                                   Wilmington, North Carolina 28401
                                   Telephone: (910) 254-3800
                                   Facsimile: (910) 254-3900
                                   Email:       hkitchin@mcguirewoods.com

                                   Dhamian A. Blue
                                   N.C. State Bar No. 31405
                                   Blue LLP
                                   205 Fayetteville Street
                                   Raleigh, North Carolina 27601
                                   Telephone: (919) 833-1931
                                   Facsimile: (919) 833-8009
                                   Email:      dab@bluellp.com

                                   Of Counsel:

                                   John D. Wilburn
                                   Email: jwilburn@mcguirewoods.com
                                   Richard D. Holzheimer, Jr.
                                   Email: rholzheimer@mcguirewoods.com
                                   McGuireWoods LLP
                                   1750 Tysons Boulevard, Suite 1800
                                   Tysons, Virginia 22102
                                   Telephone:    (703) 712-5000
                                   Facsimile:    (703) 712-5050

                                   Counsel for Atlantic Coast Pipeline, LLC




                              7
   Case 5:18-cv-00303-BO Document 1 Filed 06/27/18 Page 7 of 7
